    Case 1:22-cv-07986-JPO-SLC              Document 86     Filed 12/02/22      Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
RALPH W. BAKER, JR.,

                               Plaintiff,

        -v-
                                                          CIVIL ACTION NO.: 22 Civ. 7986 (VEC) (SLC)

                                                                             ORDER
TA-NEHISI P. COATES, et al.,

                               Defendants.




SARAH L. CAVE, United States Magistrate Judge.

        Before the Court are pro se Plaintiff Ralph W. Baker, Jr.’s (“Mr. Baker”) requests for

“permission to re-serve” Defendants Apple, Inc. (“Apple”) and Plan B. (ECF Nos. 83, 84 (the

“Requests”)). By way of background, Mr. Baker commenced this action on September 19, 2022.

(ECF No. 2 (the “Complaint”)). On October 27, 2022, Mr. Baker filed affidavits reflecting that he

delivered copies of the Summons and Complaint to Apple and Plan B. (ECF Nos. 31, 35). In the

Requests, Mr. Baker indicates that his method of service on these Defendants was not proper.

(ECF Nos. 83, 84). Mr. Baker states that he has “confirmed with the California Secretary of State”

these Defendants’ proper service address, and asks for “the Court’s permission to re-serve” them

at the specified addresses. (ECF Nos. 83, 84).

        Under Federal Rules of Civil Procedure, a plaintiff must serve his complaint “within 90

days after the complaint is filed[.]” Fed. R. Civ. P. 4(m). Here, Mr. Baker filed the Complaint on

September 19, 2022. (ECF No. 2). Thus, his deadline to serve Apple and Plan B is December 18,

2022.
    Case 1:22-cv-07986-JPO-SLC            Document 86          Filed 12/02/22   Page 2 of 2




         Accordingly, because the service deadline has not yet lapsed, Mr. Baker’s Request are

DENIED WITHOUT PREJUDICE. Mr. Baker may renew the Requests on a showing of good cause if

he is unable to serve Apple or Plan B by December 18, 2022. The Court declines to advise Mr.

Baker of the proper address at which to serve Apple or Plan B, and refers Mr. Baker to the service

requirements set forth in Federal Rule of Civil Procedure 5.

Dated:          New York, New York
                December 2, 2022
                                                    SO ORDERED.


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                                                    SARAH L. CAVE
                                                    United States Magistrate Judge




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